 Case 18-13848-BFK          Doc 14-1 Filed 01/28/19 Entered 01/28/19 13:06:12              Desc
                                Proposed Order Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


In re:

ISAAC K. AMANKWAH,                                    Bankr. Case No. 18-13848-BFK

                Debtor.                                          Chapter 7


JOHN P. FITZGERALD, III,
United States Trustee
For Region Four,

                Movant,
          v.

ISAAC K. AMANKWAH,

                Respondent.

                                    ORDER OF DISMISSAL

         This matter came before the court on the motion of the United States Trustee to dismiss

this case under § 707(b)(1). For good cause having been shown, it is hereby:

         ORDERED that the motion of the United States Trustee is hereby granted and this case is

hereby dismissed.

         ORDERED that a copy of this order be served by the clerk on the parties listed below.



Date: ______________________                         ___________________________________
                                                     Brian F. Kenney
                                                     Bankruptcy Judge


Entered on Docket: ___________________

                                     [signature on next page]
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I ask for this:

JOHN P. FITZGERALD, III
Acting United States Trustee
For Region Four


By:     /s/ Joseph A. Guzinski
        Joseph A. Guzinski
        Asst. United States Trustee
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